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 4
     Attorney for Defendant
 5   CAESAR LOPEZ-SANCHEZ

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-07-381 EJG
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        ORDER CONTINUING
12        v.                       )        SENTENCING
                                   )
13   CAESAR LOPEZ-SANCEHZ,         )
                                   )        Date:    1/14/2009
14             Defendant.          )        Time:    10:00 a.m.
     ______________________________)        Judge:   Hon. Edward J. Garcia
15

16   The parties hereby stipulate to the following:

17        1.   Judgement and sentencing in this matter is presently

18             set for January 14, 2009.      In order to give counsel

19             additional time to provide materials to the probation

20             officer, it is hereby requested that the date for

21             judgement and sentencing be continued to February 27,

22             2009 at 10:00 a.m.

23        2.   The parties and United States Probation hereby request

24             that the court adopt the following schedule pertaining

25             to the presentence report:

26             Motion for correction of the
               presentence report:                      February 13, 2009
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                                        1
           Case 2:07-cr-00381-WBS Document 57 Filed 01/09/09 Page 2 of 3


 1             Presentence report filed with
               Court and disclosed to counsel:          February 6, 2009
 2
               Counsel’s written objections
 3             to presentence report due:               January 30, 2009

 4             Proposed presentence report
               disclosed to counsel by:                 January 16, 2009
 5

 6
     Dated: December 30, 2008                   /s/ John R. Manning
 7                                            JOHN R. MANNING
                                              Attorney for Defendant
 8                                            Caesar Lopez-Sanchez

 9

10   Dated: December 30, 2008                   /s/ Mary L. Grad
                                              Mary L. Grad
11                                            Assistant U.S. Attorney

12

13                                    ORDER

14   GOOD CAUSE APPEARING, it is hereby ordered that the date for the

15   judgement and sentence of defendant Caesar Lopez-Sanchez be

16   continued from January 14, 2009 to February 27, 2009.         The court

17   hereby adopts the schedule concerning the presentence report as

18   stipulated to by the parties and set forth herein.

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21   DATED: January 8, 2009         /s/ Edward J. Garcia
                                     UNITED STATES DISTRICT JUDGE
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     Case 2:07-cr-00381-WBS Document 57 Filed 01/09/09 Page 3 of 3


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